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                                     IN THE UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS                                           Fl LED
                                           MIDLAND-ODESSA DIVISION
                                                                                                               APR 16 2018
UNITED STATES OF AMERICA                               §
                                                       §                                           CLERK, U.S. DISTRiCT COURT
v.                                                     §    Cause No.   _!&_P\_J_,.__--={t{--'-(__~sTERN ~~TEXAS
                                                       §                                                            DEPUTY CLERK
                                                       §

                                                   MOTION TO DETAIN

       COMES NOW the United States of America by and through the United States Attorney for the Western District
of Texas, by and through the undersigned Assistant United States Attorney and moves the Court to detain the above
named Defendant without bail and for cause would show the following:

     0 (A)       The Defendant is charged with a crime ofviolence, a human trafficking offense under 18 USC 1591, or a
                 terrorism offense under 18 USC 2332b(g)(5)(B), for which a maximum tenn of imprisonment often years
                 or more is prescribed;

     0   (B)     The Defendant is charged with an offense for which the maximum sentence is life imprisomnent or death;

     rzf(C)      The Defendant is charged with an offense for which a maximum term of imprisonment of ten years or
                 more is prescribed by the controlled Substances Act (21 USC 801 et seq.), or the Controlled Substances
                 Import and Export Act (21 USC 951 et. seq.);

     0   (D)     The Defendant is charged with a felony offense and has been convicted of two or more prior offenses
                 described in paragraphs A-C above, or two or more State offenses that would have been offenses
                 described in paragraphs A -C above ifF ederal jurisdiction had existed, or a combination of such offenses;

     0   (E)     The Defendant is charged with an offense that involves a minor victim; or involves the possession or use
                 of a firearm, destructive device, or any other dangerous weapon; or involves a failure to register under
                 Title 18, United States Code, Section 2250;

     c((F)       A serious risk exists that the accused will flee; and/or

     ~(G)        A serious risk exists that the Defendant will obstruct or attempt to obstruct justice, or threaten, injure, or
                 intimidate or attempt to threaten, injure, or intimidate a prospective witness or juror;

The Government requests that a hearing of this motion be conducted:
     D )mmediately;
     ~   After a continuance of three (3) days at the request of the Govermnent.
       WHEREFORE, premises considered, the United States prays that the Court conduct a hearing to determine
whether the Defendant(s) should be detained without bail pending trial, and, further the Government prays that the
Defendant(s) be detained without bail pending trial.

                                                            Respectfully submitted,




                                                   By:
                                                            Um:crEY
                                                            JOHN F. BASH



                                                            AkiStant U.S. Attorney
